     Case 18-25147-JNP                 Doc 45   Filed 09/03/19 Entered 09/03/19 11:32:07                                 Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF NEW JERSEY

              In re: DIGEROLAMO, JOSEPH                                                         § Case No. 18-25147-JNP
                                                                                                §
                     JOSEPH DIGEROLAMO                                                          §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on July 31, 2018. The undersigned trustee was appointed on July 31, 2018.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $               100,000.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                0.00
                                    Administrative expenses                                          34,065.10
                                    Bank service fees                                                     0.00
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                    31,821.00
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $                34,113.90
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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                 6. The deadline for filing non-governmental Page
                                             Document        claims 2inof 12case was 12/10/2018
                                                                       this
       and the deadline for filing governmental claims was 01/27/2019. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $6,658.95. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $6,658.95, for a total compensation of $6,658.95. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $100.85, for total expenses of
               2
       $100.85.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 08/14/2019                    By: /s/ANDREW SKLAR
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                                                                                               Exhibit A


                                                                             Form 1                                                                            Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 18-25147-JNP                                                            Trustee:       (500320)      ANDREW SKLAR
Case Name:          DIGEROLAMO, JOSEPH                                               Filed (f) or Converted (c): 07/31/18 (f)
                                                                                     §341(a) Meeting Date:        09/07/18
Period Ending: 08/14/19                                                              Claims Bar Date:             12/10/18

                                1                                    2                          3                      4              5                    6

                     Asset Description                            Petition/            Estimated Net Value         Property      Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)              Unscheduled       (Value Determined By Trustee,   Abandoned      Received by       Administered (FA)/
                                                                   Values            Less Liens, Exemptions,      OA=§554(a)      the Estate        Gross Value of
Ref. #                                                                                   and Other Costs)                                          Remaining Assets

 1        377 SAPLING WAY, ATCO, NJ 08004                           31,620.00                         0.00           OA                    0.00                    FA

 2        2008 DODGE RAM 2500 PICK UP, 161,000 MILES                  6,208.00                        0.00                                 0.00                    FA

 3        2017 TAOTAO ATV                                                600.00                       0.00                                 0.00                    FA

 4        HOUSEHOLD GOODS                                             1,500.00                        0.00                                 0.00                    FA

 5        I-PHONE 6S - 2 YEARS OLD                                       175.00                       0.00                                 0.00                    FA

 6        TAURUS 9MM - SLIM 706                                          500.00                       0.00                                 0.00                    FA

 7        CLOTHES                                                        300.00                       0.00                                 0.00                    FA

 8        JEWELRY                                                        100.00                       0.00                                 0.00                    FA

 9        BB&T BANK - CHECKING X1997                                     200.00                       0.00                                 0.00                    FA

10        TD BANK - CHECKING (JOINT WITH MOM) X6314                   2,000.00                        0.00                                 0.00                    FA

11        NJ STATE PENSION                                                 0.00                       0.00                                 0.00                    FA

12        FEDERAL TAX REFUND                                              97.00                       0.00                                 0.00                    FA

13        STATEOF NJ TAX REFUND                                       2,157.00                        0.00                                 0.00                    FA

14        HOMEOWNERS INSURANCE POLICY                                Unknown                          0.00                                 0.00                    FA

15        AMERICAN NATIONAL LIFE INS                                  1,281.45                        0.00                                 0.00                    FA

16        PI CASE                                                   31,821.00                    34,879.00                           100,000.00                    FA
           TR employed SC to continue representation in PI.
          5/21/2019 SC settled for $100K. 6/6/19 Debtor filed
          Amended Schedules B & C and changed value and
          exemption from $23,675.00 to $31,821.00

 16      Assets      Totals (Excluding unknown values)              $78,559.45                  $34,879.00                         $100,000.00                  $0.00



      Major Activities Affecting Case Closing:

                  TFR: 8/2/2019
                  TFR APPROVAL: PENDING
                  FINAL MTG: PENDING
                  TDR: PENDING
                  TDR APPROVAL: PENDING




                                                                                                                                Printed: 08/14/2019 10:20 AM   V.14.56
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                                                                          Form 1                                                                                Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 18-25147-JNP                                                      Trustee:       (500320)      ANDREW SKLAR
Case Name:       DIGEROLAMO, JOSEPH                                            Filed (f) or Converted (c): 07/31/18 (f)
                                                                               §341(a) Meeting Date:        09/07/18
Period Ending: 08/14/19                                                        Claims Bar Date:             12/10/18

                              1                                     2                     3                       4                    5                   6

                    Asset Description                           Petition/        Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                             and Other Costs)                                                Remaining Assets

     Initial Projected Date Of Final Report (TFR):   September 30, 2020          Current Projected Date Of Final Report (TFR):       August 14, 2019 (Actual)




                                                                                                                                 Printed: 08/14/2019 10:20 AM   V.14.56
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                                                                                                                                                                             Exhibit B


                                                                               Form 2                                                                                        Page: 1

                                                       Cash Receipts And Disbursements Record
Case Number:         18-25147-JNP                                                              Trustee:              ANDREW SKLAR (500320)
Case Name:           DIGEROLAMO, JOSEPH                                                        Bank Name:            Rabobank, N.A.
                                                                                               Account:              ******1566 - Checking Account
Taxpayer ID #:       **-***1355                                                                Blanket Bond:         $33,064,316.00 (per case limit)
Period Ending: 08/14/19                                                                        Separate Bond: N/A

   1             2                           3                                  4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                T-Code              $                  $               Account Balance
05/20/19       {16}        CHARLES H NUGENT ESQUIRE         P/I SETTLEMENT                                1129-000             100,000.00                               100,000.00
06/12/19                   Transition Transfer Debit                                                      9999-000                                   100,000.00                  0.00

                                                                              ACCOUNT TOTALS                                   100,000.00            100,000.00                $0.00
                                                                                     Less: Bank Transfers                             0.00           100,000.00
                                                                              Subtotal                                         100,000.00                   0.00
                                                                                     Less: Payments to Debtors                                              0.00
                                                                              NET Receipts / Disbursements                    $100,000.00                  $0.00




{} Asset reference(s)                                                                                                                     Printed: 08/14/2019 10:20 AM       V.14.56
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                                                                                                                                                                                         Exhibit B


                                                                                        Form 2                                                                                           Page: 2

                                                      Cash Receipts And Disbursements Record
Case Number:         18-25147-JNP                                                                         Trustee:              ANDREW SKLAR (500320)
Case Name:           DIGEROLAMO, JOSEPH                                                                   Bank Name:            United Bank
                                                                                                          Account:              ********1362 - Checking Account
Taxpayer ID #:       **-***1355                                                                           Blanket Bond:         $33,064,316.00 (per case limit)
Period Ending: 08/14/19                                                                                   Separate Bond: N/A

   1             2                           3                                            4                                                   5                   6                  7

 Trans.     {Ref #} /                                                                                                                   Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                     Description of Transaction                   T-Code              $                    $             Account Balance
06/12/19                   Transfer from 0061 to 1362              Transfer from 0061 to 1362                        9999-000             100,000.00                               100,000.00
06/24/19     10101         JOSEPH DiGEROLAMO                       DEBTORS EXEMPTION                                 8100-002                                     31,821.00          68,179.00
06/24/19     10102         Charles H. Nugent, Jr., Esquire         SPECIAL COUNSEL FEES- Order Allowing              3210-000                                     32,966.95          35,212.05
                                                                   Fees 6/20/19 #36
06/24/19     10103         Charles H. Nugent, Jr., Esquire         SPECIAL COUNSEL EXPENSES                          3220-000                                      1,098.15          34,113.90

                                                                                       ACCOUNT TOTALS                                     100,000.00              65,886.10        $34,113.90
                                                                                                Less: Bank Transfers                      100,000.00                   0.00
                                                                                       Subtotal                                                    0.00           65,886.10
                                                                                                Less: Payments to Debtors                                         31,821.00
                                                                                       NET Receipts / Disbursements                               $0.00       $34,065.10

                               Net Receipts :                100,000.00
                     Less Payments to Debtor :                31,821.00                                                                         Net             Net                  Account
                                                                                       TOTAL - ALL ACCOUNTS                                   Receipts     Disbursements             Balances
                                    Net Estate :             $68,179.00
                                                                                       Checking # ******1566                              100,000.00                   0.00                  0.00
                                                                                       Checking # ********1362                                     0.00           34,065.10          34,113.90

                                                                                                                                         $100,000.00          $34,065.10           $34,113.90




{} Asset reference(s)                                                                                                                                 Printed: 08/14/2019 10:20 AM       V.14.56
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                                            Exhibit C - Claims Register
                                    Case: 18-25147-JNP DIGEROLAMO, JOSEPH
                                                                                               Claims Bar Date:   12/10/18
 Claim   Claimant Name /                       Claim Type/   Claim Ref./    Amount Filed/         Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes              Allowed          to Date          Balance
         Charles H. Nugent, Jr., Esquire       Admin Ch. 7 SPECIAL              $32,966.95     $32,966.95            $0.00
         NUGENT LAW                            07/31/18      COUNSEL            $32,966.95
         530 Lippincott Drive, Building E                    FEES


                                                             SPECIAL COUNSEL FEES - ORDER ALLOWING FEES &
         Marlton, NJ 08053                                   EXPENSES 6/20/2019-DOCKET #36
                                                             PD: 6/24/2019- CK# 10102 - $32,966.95


         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200
         Charles H. Nugent, Jr., Esquire       Admin Ch. 7 SPECIAL               $1,098.15      $1,098.15            $0.00
         NUGENT LAW                            07/31/18      COUNSEL             $1,098.15
         530 Lippincott Drive, Building E                    EXPENSES


                                                             SPECIAL COUNSEL EXPENSES - ORDER ALLOWING FEES &
         Marlton, NJ 08053                                   EXPENSES 6/20/2019- #36
                                                             PD: 6/24/2019- CK#10103 - $32,966.95


         <3220-00 Attorney for Trustee Expenses (Other Firm)>, 200
         ANDREW SKLAR                          Admin Ch. 7 TRUSTEE                $100.85           $0.00          $100.85
         1200 Laurel Oak Road                  07/31/18      EXPENSES             $100.85
         Suite 102
                                                             TRUSTEE EXPENSES
         Voorhees, NJ 08043
         <2200-00 Trustee Expenses>, 200
         Sklar Law, LLC                        Admin Ch. 7 ATTY FOR TR           $1,595.00          $0.00         $1,595.00
         1200 Laurel Oak Road Suite 102        07/31/18      FEES                $1,595.00


                                                             ATTY FOR TR FEES
         Voorhees, NJ 08043
         <3110-00 Attorney for Trustee Fees (Trustee Firm)>, 200
         Sharer, Petree, Botz & Snyder         Admin Ch. 7 ACCT FOR TR           $1,851.50          $0.00         $1,851.50
         1103 Laurel Oak Road                  07/31/18      FEES                $1,851.50
         Suite 105B
                                                             ACCT FOR TR FEES - ORDER ALLOWING FEES & EXPENSES
         Voorhees, NJ 08043                                  7/12/2019- Docket #39


         <3410-00 Accountant for Trustee Fees (Other Firm)>, 200
         Sharer, Petree, Botz & Snyder         Admin Ch. 7 ACCT FOR TR             $14.25           $0.00           $14.25
         1103 Laurel Oak Road                  07/31/18      EXP                   $14.25
         Suite 105B
                                                             ACCT FOR TR EXP - ORDER ALLOWING FEES & EXPENSES
         Voorhees, NJ 08043                                  7/12/2019- Docket #39


         <3420-00 Accountant for Trustee Expenses (Other Firm)>, 200
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                                          Exhibit C - Claims Register
                                  Case: 18-25147-JNP DIGEROLAMO, JOSEPH
                                                                                                         Claims Bar Date:   12/10/18
 Claim   Claimant Name /                       Claim Type/   Claim Ref./        Amount Filed/               Paid             Claim
Number   <Category>, Priority                  Date Filed    Notes                  Allowed                to Date          Balance
         Sklar Law, LLC                        Admin Ch. 7 ATTY FOR TR                  $58.05                 $0.00             $58.05
         1200 Laurel Oak Road Suite 102        07/31/18      EXPENSES                   $58.05


                                                             ATTY FOR TR EXPENSES
         Voorhees, NJ 08043
         <3120-00 Attorney for Trustee Expenses (Trustee Firm)>, 200
         ANDREW SKLAR                          Admin Ch. 7 TRUSTEE                    $6,658.95                $0.00        $6,658.95
         1200 Laurel Oak Road                  07/31/18      COMPENSATIO              $6,658.95
         Suite 102                                           N


                                                             TRUSTEE COMPENSATION
         Voorhees, NJ 08043
         <2100-00 Trustee Compensation>, 200
  A      JOSEPH DiGEROLAMO                     Secured       DEBTORS                 $31,821.00           $31,821.00              $0.00
         PO BOX 632                            07/31/18      EXEMPTION               $31,821.00


                                                             DEBTOR'S EXEMPTION IN P/I PROCEEDS
         ATCO, NJ 08004                                      $23,675.00 11 USC Section 522(d)(11)(D) and $8,146.00 11 USC
                                                             Section 522(d)(5)-added in Debtor's Amended Schedules B & C
                                                             6/6/2019-Docket #31
                                                             PD 6/24/2019- Ck# 10101 - $31,821.00


         <8100-00 Exemptions>, 100
 1       TOWNSHIP OF WATERFORD                 Secured       X2389                     $354.00                 $0.00              $0.00
         TAXATION DEPT                         08/22/18                                   $0.00
         2131 AUBURN AVE                                     Secured-x2389- Deemed not allowed as fully collateralized by R/E
         ATCO, NJ 08004-1900
         <4700-00 Real Property Tax Liens (pre-petition)>, 100
 2       CAVALRY SPV I, LLC                    Unsecured     X0568                     $811.25                 $0.00            $811.25
         PO BOX 27288                          09/13/18                                $811.25
                                                             GUS-X0568
         TEMPE, AZ 85282
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3       BB&T, BANKRUPTCY SECTION              Unsecured     X1997                        $2.75                $0.00              $2.75
         100-50-01-51                          09/13/18                                   $2.75
         P.O. BOX 1847                                       GUS-X1997
         WILSON, NC 27894
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4       CAVALRY SPV I, LLC                    Unsecured     X3314                    $1,483.60                $0.00        $1,483.60
         PO BOX 27288                          09/14/18                               $1,483.60
                                                             GUS-X3314
         TEMPE, AZ 85282
         <7100-00 General Unsecured § 726(a)(2)>, 610
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                                        Exhibit C - Claims Register
                                Case: 18-25147-JNP DIGEROLAMO, JOSEPH
                                                                                            Claims Bar Date:   12/10/18
 Claim   Claimant Name /                    Claim Type/   Claim Ref./      Amount Filed/       Paid             Claim
Number   <Category>, Priority               Date Filed    Notes                Allowed        to Date          Balance
 5       THE ORIGINAL W. HARGRAVE           Unsecured     1462                 $14,200.00        $0.00         $14,200.00
         DEMOLITION CO.,                     09/19/18                          $14,200.00
         1507 STATE STREET                                X1462


         CAMDEN, NJ 08105
         <7100-00 General Unsecured § 726(a)(2)>, 610
 6       PORTFOLIO RECOVERY                 Unsecured     9730                  $5,687.59        $0.00          $5,687.59
         ASSOCIATES, LLC                     10/08/18                           $5,687.59
         C/O CITIBANK, N.A.                               GUS-X9730
         POB 12914
         NORFOLK, VA 23541
         <7100-00 General Unsecured § 726(a)(2)>, 610
 7       CAPITAL ONE, N.A.                  Unsecured     X6982                  $310.92         $0.00           $310.92
         C/O BECKET AND LEE LLP              10/10/18                            $310.92
         PO BOX 3001                                      GUS-X6982
         MALVERN, PA 19355-0701
         <7100-00 General Unsecured § 726(a)(2)>, 610
 8       LVNV FUNDING, LLC ITS              Unsecured     X9198                  $461.55         $0.00           $461.55
         SUCCESSORS AND ASSIGNS AS     10/22/18                                  $461.55
         ASSIGNEE OF CAPITAL ONE BANK                     GUS-X9198
         (USA), N.A.
         RESURGENT CAPITAL SERVICES,PO BOX 10587
         GREENVILLE, SC 29603-0587
         <7100-00 General Unsecured § 726(a)(2)>, 610
 9       VERIZON                            Unsecured     0001                  $1,442.09        $0.00          $1,442.09
         BY AMERICAN INFOSOURCE AS           11/09/18                           $1,442.09
         AGENT                                            GUS-X0001
         PO BOX 248838
         OKLAHOMA CITY, OK 73124-8838
         <7100-00 General Unsecured § 726(a)(2)>, 610
 10      WELLS FARGO BANK, N.A.             Unsecured     X599897742            $1,081.57        $0.00          $1,081.57
         PO BOX 14487                        11/28/18                           $1,081.57
                                                          GUS-X599897742
         DES MOINES, IA 50309
         <7100-00 General Unsecured § 726(a)(2)>, 610
 11      WEBCOLLEX LLC                      Unsecured     X2134                 $1,622.84        $0.00          $1,622.84
         C/O JD RECEIVABLES LLC              12/10/18                           $1,622.84
         PO BOX 382656                                    GUS-X2134
         GERMANTOWN, TN 38183
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                              Case Total:   $65,886.10         $37,382.76
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                                  TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

            Case No.: 18-25147-JNP
            Case Name: DIGEROLAMO, JOSEPH
            Trustee Name: ANDREW SKLAR
                                                Balance on hand:                            $          34,113.90
              Claims of secured creditors will be paid as follows:

 Claim        Claimant                              Claim Allowed Amount Interim Payments               Proposed
 No.                                              Asserted       of Claim          to Date              Payment
   1          TOWNSHIP OF                            354.00               0.00                  0.00          0.00
              WATERFORD
                                                Total to be paid to secured creditors:      $               0.00
                                                Remaining balance:                          $          34,113.90

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments        Proposed
                                                                                         to Date       Payment
Trustee, Fees - ANDREW SKLAR                                          6,658.95                  0.00      6,658.95
Trustee, Expenses - ANDREW SKLAR                                        100.85                  0.00        100.85
Attorney for Trustee, Fees - Charles H. Nugent, Jr., Esquire         32,966.95           32,966.95            0.00
Attorney for Trustee, Expenses - Charles H. Nugent, Jr.,              1,098.15            1,098.15            0.00
Esquire
Accountant for Trustee, Fees - Sharer, Petree, Botz &                 1,851.50                  0.00      1,851.50
Snyder
Accountant for Trustee, Expenses - Sharer, Petree, Botz &                14.25                  0.00         14.25
Snyder
Attorney for Trustee Fees - Sklar Law, LLC                            1,595.00                  0.00      1,595.00
Attorney for Trustee Expenses - Sklar Law, LLC                           58.05                  0.00         58.05
                            Total to be paid for chapter 7 administration expenses:         $          10,278.60
                            Remaining balance:                                              $          23,835.30

              Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments        Proposed
                                                                                         to Date       Payment
                                                        None
                            Total to be paid for prior chapter administrative expenses:     $               0.00
                            Remaining balance:                                              $          23,835.30




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $               0.00
                                                 Remaining balance:                         $          23,835.30
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 27,104.16 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 87.9 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  2            CAVALRY SPV I, LLC                                        811.25                 0.00         713.42
  3            BB&T, BANKRUPTCY SECTION                                    2.75                 0.00              2.42
  4            CAVALRY SPV I, LLC                                      1,483.60                 0.00       1,304.67
  5            THE ORIGINAL W. HARGRAVE                               14,200.00                 0.00      12,487.42
               DEMOLITION CO.,
  6            PORTFOLIO RECOVERY ASSOCIATES,                          5,687.59                 0.00       5,001.64
               LLC
  7            CAPITAL ONE, N.A.                                         310.92                 0.00         273.42
  8            LVNV FUNDING, LLC ITS SUCCESSORS                          461.55                 0.00         405.89
               AND ASSIGNS AS
  9            VERIZON                                                 1,442.09                 0.00       1,268.17
 10            WELLS FARGO BANK, N.A.                                  1,081.57                 0.00         951.13
 11            WEBCOLLEX LLC                                           1,622.84                 0.00       1,427.12
                             Total to be paid for timely general unsecured claims:          $          23,835.30
                             Remaining balance:                                             $               0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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